Case 3:21-cv-00434-MAB Document 23 Filed 08/27/21 Page 1of3 Page ID #53

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

SCOTT JENKINS,

JENKINS DISPLAYS CO. '
Plaintiffs,

VS. Case No. 21-cv-00434-MAB

FAYETTE COUNTY CIRCUIT COURT,
Defendant.

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Motion for Leave to Add Defendants David Cates, the Cates Law Firm,
add allegations, as well as violations under the Federal Rico Act.

Come now Scott Jenkins pro se and states the following:

Denial of first Motion for Leave.

This filing constitutes my second attempt to amend my Complaint. This Court denied my
Motion for Leave to amend based upon the fact | never included the amended complaint. As a pro se
litigant it was my understanding | first need permission for Leave, then | could proceed with filing the
Amended Complaint. | hereby request Leave again, and this time | have attached my Amended
Complaint. | will do my best in the future to get the procedural issues correct. Further | am in
negotiations to secure representation. | realize | lack the Knowledge in this complex field, and also
my lack of knowledge is burdensome on this Court. | am doing my best to come up with the funds
and enter into an agreement for representation. | hope to have this accomplished shortly.

Basis for requesting Leave.

Filing documents as secured is the first step in the impounding process, usually done in Cases

involving minors, juveniles, sexual assault cases, etc.. Impounding Notices of Hearings documents in

a Civil Case such as my Case is not only senseless, the fact that it was done constitutes a conspiracy
Case 3:21-cv-00434-MAB Document 23 Filed 08/27/21 Page 2o0f3 Page ID #54

in the Crime of Record Tampering, a Class 3 Felony in the State of Illinois as well as under the
Federal Rico Act. It also Constitutes malpractice for the purpose of harming a Client, myself.

| have submitted factual proof by way of the impounded Record which harmed me, | also have
submitted factual proof of an email sent from Kathy Emeric the Fayette County Circuit Clerk shown to
be on official County email client and server. In that email is named my Attorney as the filer. David
Cates and his Firm were the only Attorneys representing me in that Case, which the Clerk would have
known at the time of drafting her email, so she had to be referring to David Cates or a member of hsi

firm. Below is an excerpt from the Clerk’s email:

“eC LM Pay ee NX

Impounding documents in a Civil Case, not concerning minors or what a Party feels constitutes
the need for Impounding, is at the very least a two person process. It takes a Party to the Case to
submit the documents for impounding using the secured filing option, then a Judge to Order them
impounded. Obviously the Judge and a Party to the Case would constitute separate entities as
required by Rico.

Impounding Hearing notices is not only a contradiction for the purpose of a Hearing, hearing
notices involving a Public entity such as the City of Vandalia, which under Illinois Law is required to
maintain Public Disclosure, would also be illegal and a violation of Disclosure Laws or at the least
improper, especially if done so for the purpose of harming, especially his own Client.

Further the documents were created by the City’s Attorney, not my Attorney Dave Cates or a
member of the Cates Firm, this Constitutes malpractice if done for the purpose to harm.

Based upon the factual evidence contained within the Circuit Clerk’s Email, not only is it wrong

and would constitute malpractice for my Attorney to intentionally be submitting another Attorney's

2
Case 3:21-cv-00434-MAB Document 23 Filed 08/27/21 Page 3o0f3 Page ID #55

hearing Notices confidentially, requesting or resulting in them to be impounded and keep me the
client from being aware, it also makes he and his firm a conspirator in this Crime. The email from the
Clerk is sufficient to make these allegations.

The fact it was done multiple times, used entities such as the Circuit Court, their respective
Firms or Partnerships, also supports the allegation of Federal Rico Act violations..

THEREFORE | respectfully request this Court to allow me to amend my Complaint to include
David Cates and the Cates Law Firm as Defendants and Conspirators, and committing malpractice
as Attorneys, | also request the Court to allow me to Amend my Case to fall under the Category of a
Federal Rico Act Case.

Respectfully Submitted,

/s/ Scott Jenkins pro se

| certify that | will deliver a true and correct copy of this filing to Victoria Fuller via email at the
provided address of record with this Court.
